AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                          )
                             v.                                     )
                    Michael Aaron Quick                             )      Case No.
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                                      in the
                       District of            Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
 18 U.S.C. §§ 1752(a)(1) and (2),                Restricted Buildings or Grounds


 40 U.S.C. §§ 5104(e)(2)(D) and (G)              Unlawful Activities on Capitol Grounds; Disorderly Conduct; Parading and
                                                 Demonstrating in the Capitol Building




         This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                       Isaac McPheeters, Special Agent
                                                                                                Printed name and title
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Telephone                                        VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 
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Date:             02/10/2021
                                                                                                  Judge’s signature

City and state:                           Washington, DC                             U.S. Magistrate Judge Zia M. Faruqui
                                                                                                Printed name and title
